      Case 3:17-cv-00202 Document 57 Filed in TXSD on 12/14/17 Page 1 of 1
                                                                            United States District Court
                                                                              Southern District of Texas

                                                                                 ENTERED
                                                                              December 14, 2017
                         UNITED STATES DISTRICT COURT
                                                                              David J. Bradley, Clerk
                          SOUTHERN DISTRICT OF TEXAS
                             GALVESTON DIVISION

MICHAEL PELTIER, et al,                      §
                                             §
           Plaintiffs,                       §
VS.                                          § CIVIL ACTION NO. 3:17-CV-202
                                             §
STGJ ENTERPRISES, LLC; dba SMI               §
AGENCY, et al,                               §
                                             §
           Defendants.                       §

                         CONDITIONAL DISMISSAL ORDER

       The Court has been advised that a settlement has been reached between the parties.

Dkt. 55.

       Accordingly, it is hereby ORDERED that this case is DISMISSED WITHOUT

PREJUDICE to reinstatement of all claims asserted in this matter, unless any party

represents in writing filed with the Court on or before January 12, 2018 that the

settlement could not be completely documented.

       All pending motions are hereby DENIED as moot.

       SIGNED at Galveston, Texas, this 14th day of December, 2017.


                                             ___________________________________
                                             George C. Hanks Jr.
                                             United States District Judge
